Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 1 of 16 PageID #: 3792




                     UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 IMMERSION CORPORATION,

       Plaintiff,
                                                  Case No. 2:17-cv-00572-JRG
       v.                                         LEAD CASE

 SAMSUNG ELECTRONICS AMERICA, INC.                Case No. 2:18-cv-00055-JRG
 and SAMSUNG ELECTRONICS CO., LTD.,               CONSOLIDATED CASE

       Defendants.




       SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
   UNDISCLOSED THEORY AND REFERENCE FROM WOLFE EXPERT REPORT
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 2 of 16 PageID #: 3793



                                               TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................................. 1


II.    FACTUAL BACKGROUND ............................................................................................. 2


III.   ARGUMENT ...................................................................................................................... 4


       A.        The Disputed Explanation Is Not a Separate Invalidity Ground Beyond Those
                 Identified in Samsung’s Contentions ...................................................................... 4


       B.        Samsung Properly Provided Notice of Relied Upon Prior Art in Its Invalidity
                 Contentions ............................................................................................................. 5


       C.        The Disputed Explanation is Properly Presented Expert Opinion .......................... 7


       D.        The Fifth Circuit’s Betzel Factors Weigh Against Striking the Disputed
                 Explanation ............................................................................................................. 9


IV.    CONCLUSION ................................................................................................................. 10




                            SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                               ii
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 3 of 16 PageID #: 3794



                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Alacritech Inc. v. CenturyLink, Inc.,
   No. 2:16-CV-00693-JRG-RSP, 2017 WL 3007464 (E.D. Tex. July 14, 2017) ........................7

Betzel v. State Farm Lloyds,
   480 F.3d 704 (5th Cir. 2007) ...............................................................................................9, 10

In re Carlson,
    983 F.2d 1032 (Fed. Cir. 1992)..................................................................................................5

Core Wireless Licensing, S.A.R.L. v. LG Elecs., Inc.,
   No. 2:14-CV-911-JRG-RSP, 2016 WL 3655302 (E.D. Tex. Mar. 21, 2016) ...........................7

KSR Int’l Co. v. Teleflex Inc.,
   550 U.S. 398 (2007) ...................................................................................................................8

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)..................................................................................................8

Pozen Inc. v. Par Pharm., Inc.,
   No. 6:08-CV-437-LED-JDL, 2010 WL 11431483 (E.D. Tex. June 8, 2010) ...........................8

Tyco Healthcare Grp. LP v. Applied Med. Res. Corp.,
   No. 9:06-CV-151, 2009 WL 5842062 (E.D. Tex. Mar. 30, 2009) ........................................8, 9




                                SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                                   iii
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 4 of 16 PageID #: 3795



I.     INTRODUCTION

       The Court should deny Immersion’s Motion1 because the portion of Dr. Wolfe’s opinion

it seeks to preclude is supported by Samsung’s Invalidity Contentions and within the typical

purview of a technical expert whose role is to opine on the knowledge of a person of ordinary

skill in the art at the time of the invention (“POSITA”). Immersion’s Motion is premised on the

incorrect belief that Dr. Wolfe’s discussion of the knowledge of a POSITA and his own patent

(the Wolfe ’930 patent)—a discussion merely to explain the perspective a POSITA would apply

to the disclosed references, such as Stephan—raised a new invalidity ground that was never

disclosed. But Dr. Wolfe did not address the Wolfe ’930 patent in order to assert an additional

invalidity ground. Instead, Dr. Wolfe presented this discussion in the context of how a POSITA

would have understood the disclosed obviousness combinations, including Stephan.

       In its Invalidity Contentions, served over a year before the Motion was filed, Samsung

disclosed that it intended to rely on the knowledge of a POSITA in its obviousness combinations,

including potential modifications to Stephan within the knowledge of a POSITA. Furthermore,

Samsung disclosed the portion of Stephan that provides the factual context—that “Firmware in

the touchpad converts the absolute position as the user moves the contact point on the touchpad

to relative X,Y movement information”—upon which Dr. Wolfe subsequently provided his

expert opinion. Because Dr. Wolfe’s opinions were properly supported and well within his role

as a technical expert, Immersion’s Motion should be denied. To the extent Immersion takes

issue with Dr. Wolfe’s opinions, its proper recourse is cross-examination.




1
 Immersion’s Motion to Strike an Undisclosed Invalidity Theory and Prior Art Reference From
Expert Report of Andrew Wolfe is referred to herein as the “Motion.”

                      SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                         1
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 5 of 16 PageID #: 3796



II.    FACTUAL BACKGROUND

       The Motion refers to three of the asserted patents as the “touch input” patents, including

U.S. Patent Nos. 6,429,846, 7,982,720, and 8,031,181. (Mtn. at 1.) The asserted claims of these

patents have limitations that recite “position signal[s]” (or “a first signal”) that are provided

“based on a location” a user touches on the input device. (See Mtn. at 1; ’846 patent at cl. 1 (“a

touch input device . . . operative to input a position signal to a processor of said computer based

on a location on said touch surface which said user contacts, said position signal representing a

location in two dimensions”); ’720 patent at cl. 10 (“a touch screen operative to output a first

signal comprising coordinates of a contacted location on the touch screen”); ’181 patent at cl. 1

(“a touch screen operative to display a graphical image and to output a position signal associated

with cursor positioning”).) On October 15, 2016, the Court construed “position signal

representing a location” for the ’846 patent as a “signal comprising coordinates of a location,”

which the parties had previously agreed upon. (Dkt. No. 81 at 8.)

       On January 23, 2018, over a year before the Motion was filed, Samsung served its

Invalidity Contentions in this case for the “touch input” patents (among other asserted patents).

This disclosure included obviousness contentions based on U.S. Patent No. 5,748,185

(“Stephan”) for each of the “touch input” patents. (See Ex. IC–A9 to Mtn. (related to the ’846

patent); Ex. IC–C9 to Mtn. (related to the ’720 patent); Ex. IC–D9 to Mtn. (related to the ’181

patent).) Samsung’s contentions put Immersion on notice of Samsung’s position that “at the

time of the alleged invention, it was common knowledge to one of skill in the art that such touch

input devices could detect a touch and generate a signal representing a touch in at least two




                        SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                           2
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 6 of 16 PageID #: 3797



dimensions.”2 (Ex. 1 to Mtn.3 at 34 (related to the ’846 patent), 52 (related to the ’720 patent),

61 (related to the ’181 patent).) Samsung’s Invalidity Contentions also put Immersion on

notice—more than a year before the Motion’s filing—that it intended to rely on Stephan in

combination with other references and/or as modified by the knowledge of a POSITA. The

timely filed Invalidity Contentions also referenced reliance on forthcoming expert testimony to

show the knowledge of a POSITA. Id.

       Finally, Samsung’s Invalidity Contentions disclosed that Stephan itself (at 1:35–42)

provides a basis for substituting absolute coordinate reporting for relative coordinate reporting.4

This citation was just a small portion of the 12-17 pages of cited material from Stephan that

Samsung disclosed for the relevant limitation of each of the three “touch input” patents. (Ex.

IC–A9 to Mtn. at 14-26 (for the ’846 patent); see also Ex. IC–C9 to Mtn. at 2–17 (for the ’720

patent); Ex. IC–D9 to Mtn. at 1-17 (for the ’181 patent).) At no point did Immersion ever

complain that Samsung’s invalidity disclosures were insufficiently detailed, or that it could not

understand the contention that the patents were obvious in light of the disclosures in Stephan, the

other disclosed references, and the knowledge of a POSITA.

       Following Samsung’s invalidity contentions, Dr. Wolfe provided a timely report about

the invalidity of the “touch input” patents on December 21, 2018. The portion of his opinion

subject to the Motion is the following statement made in connection with obviousness

combinations that include Stephan for the ’846, ’720, and ’181 patents:



2
  Unless otherwise noted, all emphasis was added for purposes of this brief.
3
  Samsung served amended invalidity contentions on April 30, 2018, but those did not
substantively alter the portions cited herein. For clarity and consistency with the Motion’s
citations, Samsung’s citations herein reference the original set served January 23, 2018, which
were attached in part to the Motion.
4
  See Ex. IC–A9 to Mtn. at 2–3 (for the ’846 patent); Ex. IC–C9 to Mtn. at 2–3 (for the ’720
patent); Ex. IC–D9 to Mtn. at 2 (for the ’181 patent).

                       SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                          3
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 7 of 16 PageID #: 3798



               Moreover, a POSITA would have found it obvious based on
               knowledge of the field and common sense to substitute absolute
               coordinate reporting for relative coordinate reporting. This
               substitution was commonplace in the art at the time. It is discussed,
               for example, in my own patent, U.S. Patent 6,037,930, filed in
               1984, which discusses but does not claim, both types of coordinate
               reporting.

(Mtn. at 5 (referred to herein as the “Disputed Explanation”).)5 This small explanation

constitutes just three sentences among dozens of pages of materials that Dr. Wolfe provided for

the particular limitations of the asserted claims that relate to the Motion.6 On February 4, 2019,

more than a year after Immersion had notice of Samsung’s contentions, Immersion filed this

motion to strike the Disputed Explanation relating to the knowledge of a POSITA on a

previously proffered theory.

III.   ARGUMENT

       Contrary to Immersion’s argument, the Disputed Explanation was not an attempt to assert

an additional invalidity ground beyond those previously disclosed by Samsung. Instead, Dr.

Wolfe’s discussion explains the understanding of a POSITA as it relates to Stephan’s

disclosures—disclosures provided by Samsung more than a year ago.

       A.      The Disputed Explanation Is Not a Separate Invalidity Ground Beyond
               Those Identified in Samsung’s Contentions

       Immersion’s Motion is premised on the erroneous belief that the Disputed Explanation is

a separate invalidity ground beyond the combinations explicitly outlined in Dr. Wolfe’s report



5
  Immersion did not precisely identify the relief it seeks but if the Court grants Immersion’s
motion (which it should not), only the portion of the Disputed Explanation stating “It is
discussed, for example, in my own patent, U.S. Patent 6,037,930, filed in 1984, which discusses
but does not claim, both types of coordinate reporting,” and other reference to Wolfe ’930 should
be struck.
6
  See Wolfe Ex. 3A to Mtn. at 2-19; Wolfe Ex. 3B to Mtn. at 3-8; Wolfe Ex. 3D to Mtn. at 2-17;
Wolfe Ex. 4A to Mtn. at 2-19; Wolfe Ex. 4B to Mtn. at 2-6; Wolfe Ex. 5A to Mtn. at 2-19;
Wolfe Ex. 5B to Mtn. at 2-5; Wolfe Ex. 5D to Mtn. at 2-23.

                       SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                          4
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 8 of 16 PageID #: 3799



(and that were the subject of Samsung’s Invalidity Contentions). It is not. Instead, the Disputed

Explanation simply relates to the knowledge and understanding of a POSITA as it pertains to the

identified obviousness combinations, including those involving Stephan.

       The Motion correctly identifies that Dr. Wolfe “opined that the ‘touch input’ patents were

obvious,” and that Dr. Wolfe provided “charts for the ‘touch input’ patents [that] involved the

Stephan reference.” (Mtn. at 4–5.) However, the Motion proceeds to argue that the Disputed

Explanation and mention of U.S. Patent No. 6,037,930 (the “Wolfe ’930 patent”) is “a new

invalidity theory” and “a new obviousness combination.” (Mtn. at 1, 8–11.) This overstated

premise is belied by the fact that the Disputed Explanation states that “a POSITA would have

found it obvious based on knowledge of the field and common sense to substitute absolute

coordinate reporting for relative coordinate reporting.” (See Motion at 5.) Indeed, the

obviousness inquiry focuses on the hypothetical person of ordinary skill, who is presumed as a

matter of law to be familiar with all of the prior art. See In re Carlson, 983 F.2d 1032, 1037 (Fed.

Cir. 1992) (“[T]he hypothetical person of ordinary skill in the art ... is charged with knowledge

of all the contents of the relevant prior art.”) (citation omitted). The Wolfe ’930 patent is merely

an example of the knowledge of a POSITA, but does not itself constitute an additional charted

reference in a purportedly unstated combination, as Immersion suggests. (Id.) Hence, the

Disputed Explanation is expert analysis of how a POSITA would understand and/or modify a

disclosure like that of Stephan.

       B.      Samsung Properly Provided Notice of Relied Upon Prior Art in Its Invalidity
               Contentions

       The Court should deny Immersion’s Motion because Samsung timely disclosed the

underlying prior art references and theories upon which Dr. Wolfe provided his opinions. The

Motion argues that the Disputed Explanation is “[n]owhere in Samsung’s Invalidity


                       SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                          5
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 9 of 16 PageID #: 3800



Contentions—not in the cover pleading, not in any of the three Stephan charts,” and that

“Samsung’s assertions regarding Stephan in its Invalidity Contentions are devoid of anything

resembling Dr. Wolfe’s new theory.” (Mtn. at 9.) Despite Immersion’s hyperbole, Samsung

disclosed that Stephan renders the asserted claims of the touch patents obvious. More

specifically, Samsung’s contentions explained why a POSITA would modify Stephan in the

manner claimed in the touch patents. This most clearly comes from Stephan itself (at 1:35–42),

which provides a basis and understanding in the art for substituting absolute coordinate reporting

for relative coordinate reporting:

               Similarly, signals generated by a touchpad are converted to X,Y
               movement information to interface with the GUI. Touchpads
               generate a signal that corresponds to the location on the surface of
               the touchpad where the user contacts the touchpad. Firmware in
               the touchpad converts the absolute position as the user moves the
               contact point on the touchpad to relative X,Y movement
               information that is provided to the computer.7

This disclosure illustrates a relationship that exists between “absolute position” and “relative

X,Y movement information”—the precise subject matter of the Disputed Explanation.

Accordingly, Samsung timely disclosed its invalidity theories, and Dr. Wolfe properly provided

expert opinion on how a POSITA would understand the same in light of Stephan and the

obviousness combinations analyzed by Dr. Wolfe. Immersion’s statements about “litigation by

ambush” (Mtn. at 10) are unfounded because Immersion had notice.

       Unsurprisingly, Samsung’s Invalidity Contentions also put Immersion on notice that it

intended to rely on the knowledge of a POSITA in asserting its obviousness combinations. In its

contentions, Samsung stated that each of the listed references (which included Stephan)




7
 Ex. IC–A9 to Mtn. at 2–3 (for the ’846 patent); Ex. IC–C9 to Mtn. at 2–3 (for the ’720 patent);
Ex. IC–D9 to Mtn. at 2 (for the ’181 patent).

                       SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                          6
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 10 of 16 PageID #: 3801



 “render[ed] the Asserted Claims invalid as obvious. In particular, each anticipatory prior art

 reference may be combined with (1) information generally known to persons skilled in the art

 at the time of the alleged invention, and/or (2) any of the other anticipatory prior art references.”

 (Ex. 1 to Mtn. at 12–13, 31 (“it would have been obvious to one of ordinary skill in the art to

 combine any of a number of prior art references, including any combination of those prior art

 references identified in Appendix A along with the knowledge of one of ordinary skill in the art

 to meet the limitations of the Asserted Claims of the ’846 Patent.”), 49, 58.) Thus, Samsung

 timely disclosed its intention to present obviousness arguments based on Stephan in light of the

 knowledge of a POSITA.

        Moreover, Immersion’s implication that every detail from Dr. Wolfe’s report must have

 been previously disclosed in Samsung’s contentions is inaccurate. Invalidity contentions are

 intended to provide notice, but “are not intended to act as a forum for argument about the

 substantive issues.” Core Wireless Licensing, S.A.R.L. v. LG Elecs., Inc., No. 2:14-CV-911-

 JRG-RSP, 2016 WL 3655302, at *1 (E.D. Tex. Mar. 21, 2016); Alacritech Inc. v. CenturyLink,

 Inc., No. 2:16-CV-00693-JRG-RSP, 2017 WL 3007464, at *4 (E.D. Tex. July 14, 2017)

 (“Infringement contentions need not disclose specific evidence nor do they require a plaintiff to

 prove its infringement case.” (citation omitted)). As described above, Samsung’s contentions put

 Immersion fully on notice of its invalidity theories. Accordingly, Samsung has met its

 obligations under the local rules and Immersion’s Motion should be denied.

        C.      The Disputed Explanation is Properly Presented Expert Opinion

        Immersion’s Motion essentially seeks to strike a portion of Dr. Wolfe’s obviousness

 opinion for analyzing the knowledge and understanding of a POSITA—which Samsung

 previously disclosed it would rely on. However, it is well-settled that whether a claimed

 invention is obvious is determined through the lens of “a person having ordinary skill in the art

                        SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                           7
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 11 of 16 PageID #: 3802



 to which the claimed invention pertains.” 35 U.S.C. § 103; see KSR Int'l Co. v. Teleflex Inc., 550

 U.S. 398, 420 (2007); Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005). An

 important role of a technical expert in a patent case is to provide an opinion on the knowledge

 and understanding of a POSITA at the time of the invention. See, e.g., Phillips, 415 F.3d at

 1318. This type of expert analysis can be particularly helpful to understand how such an artisan

 would understand disclosures from the prior art in an obviousness analysis.

        Here, the Disputed Explanation provides the knowledge of a POSITA—that such an

 artisan “would have found it obvious based on knowledge of the field and common sense to

 substitute absolute coordinate reporting for relative coordinate reporting. This substitution was

 commonplace in the art at the time.” (Mtn. at 5.) Dr. Wolfe merely provided explanation about

 how a POSITA would have viewed a prior art disclosure like that of Stephan. And notably, it

 happens to be his very own patent that provides a compelling example of that.

        The Disputed Explanation’s reference to the Wolfe ’930 patent is also proper as an

 example of the knowledge of the field and common sense to substitute absolute coordinate

 reporting for relative coordinate reporting. See Pozen Inc. v. Par Pharm., Inc., No. 6:08-CV-

 437-LED-JDL, 2010 WL 11431483, at *8 (E.D. Tex. June 8, 2010) (stating that although certain

 references may not be used “for the purpose of invalidating the patents-in-suit, nothing prevents

 the experts from relying upon or otherwise citing these references in an expert report for

 background purposes or a discussion of the state of the art on or before the critical date for [the

 asserted] patents”). In short, there is a difference between using a patent to fill in gaps in the

 prior art, and using it to explain the knowledge of a person of ordinary skill in the art.

        Immersion relies on the Tyco Healthcare case throughout the Motion in arguing for

 preclusion. (Mtn. at 6, 7, 10, 11.) However, in Tyco Healthcare, the court struck a portion of an



                         SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                            8
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 12 of 16 PageID #: 3803



 expert report that introduced new combinations and new motivations to combine them. Tyco

 Healthcare Grp. LP v. Applied Med. Res. Corp., No. 9:06-CV-151, 2009 WL 5842062, at *1

 (E.D. Tex. Mar. 30, 2009). That contrasts with the present Motion, which seeks to strike opinion

 about the understanding of a POSITA as it relates to previously disclosed references (e.g.,

 Stephan). The Disputed Explanation does not seek to add a new obviousness ground like the

 accused infringer in Tyco Healthcare. Immersion cites three other cases in support of its Motion

 (Mtn. at 6-7), but these also dealt with the dissimilar situation of late introduction of new

 theories. (See Mtn. at 6-7.) Again, and in contrast to these cases, the Disputed Explanation does

 not introduce any new invalidity theories.

        D.      The Fifth Circuit’s Betzel Factors Weigh Against Striking the Disputed
                Explanation

        Even under the Fifth Circuit Betzel test asserted by Immersion, the Motion should be

 denied. Under the first factor, the danger of unfair prejudice to the non-movant, Immersion

 argues that it suffered prejudice, but minimizes the prejudice faced by non-movant Samsung.

 (See Mtn. at 10–11.) As for the purported “prejudice” to Immersion, Samsung properly

 disclosed its invalidity theories, and Immersion had the full opportunity to rebut Dr. Wolfe’s

 opinion with its own expert and through Dr. Wolfe’s deposition.8 In fact, Immersion did just that

 in Dr. Wolfe’s deposition, questioning him extensively about the Disputed Explanation. (Ex. A

 (Wolfe Depo. Tr.) at 40:3–47:25, 84:5–85:4.) Immersion opted to not ask Dr. Wolfe about the

 Wolfe ’930 patent beyond the fact that he cited it, negating any alleged prejudice related to

 reference of that patent. (Id. at 84:19–24.) Even if there was some modicum of prejudice to




 8
  Immersion did not seek any fact deposition testimony regarding the asserted prior art that
 Samsung disclosed, so to claim that it was prevented from taking discovery is without basis.

                        SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                           9
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 13 of 16 PageID #: 3804



 Immersion, the Betzel factor weighs the danger of unfair prejudice to non-movant Samsung, not

 Immersion. Betzel v. State Farm Lloyds, 480 F.3d 704, 707–08 (5th Cir. 2007).

        The second, third, and fifth Betzel factors related to delay do not favor striking the

 Disputed Explanation because, as explained above, there was no such delay. Finally, Immersion

 only briefly addresses the fourth Betzel factor, arguing that Samsung has other invalidity

 defenses. But this ignores that Stephan is part of multiple obviousness combinations, and that

 Immersion only disputes that a handful of limitations are not present in the prior art.9

 IV.    CONCLUSION

        Because Dr. Wolfe’s Disputed Explanation properly provided the understanding of a

 POSITA in relation to previously disclosed material, and for the reasons stated above,

 Immersion’s Motion should be denied.




 9
  The fourth Betzel factor, introduced above, considers the possibility of a “lesser sanction” than
 wholesale preclusion. See Betzel, 480 F.3d at 707–08. Here, if the Court believes that any
 mention of the Wolfe ’930 patent requires previous disclosure, it would be more appropriate to
 exclude the Wolfe ’930 patent, but allow Dr. Wolfe to testify about the rest of the Disputed
 Explanation. This would reduce the harm to Samsung in line with the fourth Betzel factor.

                        SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                          10
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 14 of 16 PageID #: 3805




 Date: February 19, 2019                   Respectfully submitted,


                                          By: /s/ Stephen A. Marshall
                                             Ruffin B. Cordell
                                             TX Bar No. 04820550
                                             cordell@fr.com
                                             Michael J. McKeon
                                             DC Bar No. 459780
                                             mckeon@fr.com
                                             Indranil Mukerji
                                             MA Bar 644059
                                             mukerji@fr.com
                                             Stephen A. Marshall
                                             D.C. Bar No. 1012870
                                             smarshall@fr.com
                                             Linhong Zhang
                                             DE Bar No. 5083
                                             lwzhang@fr.com
                                             FISH & RICHARDSON P.C.
                                             1000 Maine Avenue SW
                                             Suite 1000
                                             Washington, DC 20024
                                             Telephone: (202) 783-5070
                                             Facsimile: (202) 783-2331

                                             Leonard E. Davis
                                             TX Bar No. 05521600
                                             ldavis@fr.com
                                             du@fr.com
                                             Tom Gorham
                                             TX Bar No. 24012715
                                             gorham@fr.com
                                             FISH & RICHARDSON P.C.
                                             1717 Main Street, Suite 5000
                                             Dallas, TX 75201
                                             Telephone: (214) 747-5070
                                             Facsimile: (214) 747-2091




                      SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                        11
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 15 of 16 PageID #: 3806



                                             Francis J. Albert (pro hac vice)
                                             CA Bar No. 247741
                                             albert@fr.com
                                             FISH & RICHARDSON P.C.
                                             12390 El Camino Real
                                             San Diego, CA 92150
                                             Telephone: (858) 678-5070
                                             Facsimile: (858) 378-5099

                                             Bryan K. Basso
                                             CA Bar No. 278973
                                             basso@fr.com
                                             FISH & RICHARDSON P.C.
                                             500 Arguello Street, Suite 500
                                             Redwood City, CA 94063
                                             Telephone: (650) 839-5070
                                             Facsimile: (650) 839-5071

                                             Tony Nguyen
                                             TX Bar No. 24083565
                                             nguyen@fr.com
                                             FISH & RICHARDSON P.C.
                                             1221 McKinney Street, Ste. 2800
                                             Houston, TX 77010
                                             Tel: 713-654-5300
                                             Fax: 713-652-0109

                                             Melissa Smith
                                             TX Bar No. 24001351
                                             melissa@gillamsmithlaw.com
                                             GILLAM & SMITH LLP
                                             303 South Washington Avenue
                                             Marshall, Texas 75670
                                             Telephone: (903) 934-8450
                                             Facsimile: (903) 934-9257

                                             COUNSEL FOR DEFENDANTS
                                             SAMSUNG ELECTRONICS
                                             AMERICA, INC. and SAMSUNG
                                             ELECTRONICS CO., LTD.




                   SAMSUNG’S OPPOSITION TO IMMERSION’S MOTION TO STRIKE
                                                                     12
Case 2:17-cv-00572-JRG Document 119 Filed 02/19/19 Page 16 of 16 PageID #: 3807



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on February 19, 2019 to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                                /s/ Stephen A. Marshall
                                                Stephen A. Marshall
